1    ADVANTAGE LEGAL GROUP                                     THE HONORABLE TIMOTHY W DORE
     Clayton Cook-Mowery #41110                                Chapter 13
2
     11100 NE 8th Street, Suite 340
3    Bellevue WA 98004
     T: (425) 452-9797; F: (425) 440-7690
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8
                             UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
9
      In re:                                               )    Case No. 11-20512-TWD
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                                                           )
11    JULIAN FLORES,                                       )    DEBTOR’S REPLY TO THE TRUSTEE’S
                                                           )    OBJECTION TO CONFIRMATION AND
12                         Debtor                          )    MOTION TO DISMISS
                                                           )
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                                                           )
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               Debtor, by and through his attorney Clayton Cook-Mowery, hereby responds to the
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     Chapter 13 Trustee’s Objection to Confirmation and Motion to Dismiss. In so doing, Debtor
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     states the following:
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18      1. Debtor filed for Chapter 13 bankruptcy protection on September 1, 2011.
19      2. On October 21, 2011, the Trustee objected to Debtor’s original plan on the grounds that
20             the plan did not provide for all secured claims that must be paid.

21      3. The Trustee also objected on the basis that the Debtor was attempting to retain two over-

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               encumbered properties, even though one was to be used as a residence and the other
               provides rental income equal to the first mortgage.
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        4. On October 24, 2011, Debtor filed an Amended Plan which provided for all secured
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               claims.
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        5. There would be no benefit to creditors if Debtor is made to surrender the rental property,
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               where his family members live. The first mortgage is paid with the rent that they provide,
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               and the second lien is to be stripped in the bankruptcy. Debtor’s schedules do not include
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                                                                               th
     Debtor’s Reply to Objection                                     12207 NE 8 Street
     To Confirmation - 1 of 2                                        Bellevue WA 98004


Case 11-20512-TWD            Doc 24     Filed 11/30/11     Ent. 11/30/11 12:36:53     Pg. 1 of 2
1           expenses for upkeep of the rental property that could be avoided if he no longer owned the
2           property.
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4           WHEREFORE Debtor prays that the Trustee’s Objection to Confirmation and Motion to

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     Dismiss are Denied.

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                   Dated this 30th day of November, 2011.
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8                                                       /s/ Clayton Cook-Mowery
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                                                        Clayton Cook-Mowery, WSBA #41110
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                                                        Attorney for Debtor
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     To Confirmation - 2 of 2                                   Bellevue WA 98004


Case 11-20512-TWD          Doc 24   Filed 11/30/11     Ent. 11/30/11 12:36:53      Pg. 2 of 2
